      Case 19-12892-mdc         Doc 163Filed 02/24/23 Entered 02/24/23 13:51:14                Desc Main
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                               UNITED STATES BANKRUTPCY COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       IN RE:                                       Chapter 13
       MIKE S LESAINE



                              Debtor                Bankruptcy No. 19-12892-MDC



                                                    ORDER

                             24th
      AND NOW, this ____________                    February
                                      day of ___________________      2023, upon consideration of the Motion
to Dismiss Case filed by Kenneth E. West, Standing Trustee, and after notice and hearing, it is hereby
ORDERED that this case is DISMISSED and that any wage orders previously entered are VACATED.

      IT IS FURTHER ORDERED that any undisbursed funds held by the Chapter 13 Trustee from
 payments made on account of the Debtor’s plan shall be refunded to the Debtor unless a party in interest files a
 Motion for Alternative Disbursement within 21 days of the entry of this Order.



                                                          ______________________________
                                                          Magdeline D. Coleman
                                                          Chief U.S. Bankruptcy Judge

Kenneth E. West, Trustee
P.O. Box 40837
Philadelphia, PA 19107

Debtor’s Attorney:
JOHN L. MCCLAIN, ESQ.
JOHN L MCCLAIN AND ASSOCIATES
PO BOX 123
NARBERTH, PA 19072-


Debtor:
MIKE S LESAINE

7627 OAK LANE RD

CHELTENHAM, PA 19012-
